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                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF FLORIDA
                                                   (Miami Division)

                                         CASE NO.: 1:18-cv-25429-MGC/Goodman

  MAITE MARTINEZ,
             Plaintiff,
  v.
  CHERRY BEKAERT, LLP, a foreign for
  profit corporation,
             Defendant.
  __________________________________/
                DEFENDANT’S RESPONSE TO MOTION TO EXTEND DEADLINES

            COMES NOW Defendant, CHERRY BEKAERT, LLP, a foreign for profit corporation by

 and through the undersigned attorneys, pursuant DE 48, here files its response to the Plaintiff’s

 Motion for Extension of Time to Conduct Discovery (DE 47).

            The undersigned understands the tone of the Court’s paperless Order found at DE 48 and

 appreciates the ability to respond. The Defendant’s counsel did not object to a 60 day extension

 on the fact discovery. This was memorialized in an email chain dated March 25th (see below).




                                                       [Intentionally left blank]




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           The above email exchange occurred after the counsel for all parties had a very cordial call

 about working together to allow the Plaintiff’s counsel to depose the final two witnesses who they

 wanted to depose, the Defendant’s two corporate representatives who live out of state. This

 conversation took place after the Plaintiff’s counsel wanted to take the depositions in April (see

 below).




           Counsel for the Defendant’s responded to this request as shown below.

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           In response, on March 19th, Plaintiff’s counsel said that they wanted to take these out of

 state depositions in the next two weeks.




           As shown above, the undersigned informed Plaintiff’s counsel last Friday that his firm has

 a travel restriction and “if we need to adjust the fact discovery deadline we can do so to

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 appropriately account for the travel issues right now.” Thus, it was the undersigned counsel who

 initially proposed pushing back the discovery deadline so the Plaintiff’s counsel could conduct the

 depositions he wanted to take.

           Yesterday, counsel for the Parties spoke wherein the 60-day extension to the fact discovery

 deadline was agreed upon as shown above. The undersigned counsel told Plaintiff’s counsel that

 he felt it was premature to ask for an extension of the trial date that is supposed to occur in late

 Fall, 2020.

           Thereafter, Plaintiff’s counsel circulated a proposed Motion that included a 90 day

 extension, as opposed to the 60 days previously discussed. That Motion also sought an extension

 of the mediation deadline, which the undersigned noted is likely unnecessary since the parties

 already have a mediation date booked with Marlene Quintana for June 10, 2020.




           Yesterday afternoon, the undersigned counsel provided edits to the Motion to Extend time

 in the hopes it could be filed jointly or unopposed and informed the Plaintiff’s counsel that he

 believed 60 days was a sufficient postponement for now, but “we are reasonable people and if this

 drags on for a meaningful period of time from now we can all re-assess.”




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           In the edits to the proposed Motion to Extend time, the undersigned wrote to Plaintiff’s

 counsel “I think 60 days is more than a safe bet for right now” and “we will certainly work with

 you so you can take the 2 depos you want take, but we object to pushing back trial date at this

 point.” The undersigned never heard back from the Plaintiff’s counsel before they filed the Motion.

 When the undersigned checked into work this morning, he found the Court Order on this Motion.

           The above history shows that: (a) the Plaintiff’s counsel initially sought to take the

 remaining two depositions out of state in the next two weeks, (b) the undersigned counsel was the

 one who proposed the fact discovery extension so that the Plaintiff’s counsel could take the out of

 state depositions at a better point in time, (c) the parties already have a mediation booked in Miami

 to occur on June 10th, (d) the parties had agreed to a 60 day extension on the fact discovery

 deadline, and (e) the undersigned made it clear in writing (and over the phone) that it was his

 opinion that it was premature to seek a postponement of the trial “and if this drags on for a

 meaningful period of time from now we can all re-assess”, and (f) as of yesterday afternoon, the

 Plaintiff still sought to take the out of state depositions in April even with a 60 day extension of

 discovery agreed upon (and the undersigned agreed to provide dates of availability for those out

 state April depositions that Plaintiff’s counsel sought to occur). The Plaintiff’s Motion is clearly

 not correct per the Court’s below inquiry in its Order.




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           The history shows that the parties were working well together under the uncertain and

 tough circumstances. Before the Plaintiff filed the Motion, the only dispute that seemed to exist

 was whether it was premature to seek 90 as opposed 60 days for an extension and whether it was

 premature to postpone a trial that is scheduled to occur on October 26, 2020 (DE 46). In retrospect,

 perhaps the undersigned counsel will be shown to have been too optimistic that life will return to

 relative normalcy within the next 60 days. As shown in the email exchange from yesterday

 afternoon below, despite the parties (at that point) agreement on the 60 day extension, the Plaintiff

 sought to take the out of state depositions of Defendant’s corporate representatives within a matter

 of weeks, and the undersigned agreed to get dates of availability for the same. The fact that as of

 yesterday the Plaintiff’s counsel still wanted to travel to North Carolina and Virginia in April for

 the two depositions underscores the reason why the undersigned felt that 60 days would likely

 prove sufficient and it was premature to move the October trial date. Further, if the Plaintiff’s

 counsel still wanted to travel out of state to take depositions next month, it would seem unnecessary

 to postpone the June 10th mediation in Miami.




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           The undersigned hopes that the above helps clarify the positions taken and the tone and

 cooperation that was ongoing between the parties.                                        The undersigned prides himself of

 professionalism and is not an attorney who finds himself involved in unnecessary discovery

 disputes. The undersigned was hoping that the underlying Motion would be submitted as joint or

 partially or wholly unopposed after further deliberation with Plaintiff’s counsel. Certainly, the

 Motion was not opposed in the manner that was represented.

           The undersigned is hopeful that the Court takes into consideration the above history related

 to this matter as reputation is paramount in this profession.

                                                       CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 26th day of March, 2020, a true and correct copy of the

 foregoing has been furnished by electronic filing with the Clerk of the court via CM/ECF, which

 will send notice of electronic filing to all counsel of record.



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